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                               United States District Court
                                         for the
                               Southern District of Florida

   Ceneca Valdez, Plaintiff,               )
                                           )
   v.                                      )
                                           ) Civil Action No. 19-20647-Civ-Scola
   Miami-Dade County, Defendant.           )
                                           )

                       Opinion Order on Motion to Dismiss
         Plaintiff Ceneca Valdez (“Valdez”) brings this lawsuit for alleged violations
  of Federal and Florida law stemming from her employment and termination by
  Defendant Miami-Dade County (the “County”). Now before the Court is a motion
  to dismiss (the “Motion,” ECF No. 7) filed by the County directed at two of the
  five claims asserted in the amended complaint, (ECF No. 4). Having considered
  the parties’ submissions, the record and the applicable law, the Motion (ECF No.
  7) is granted in part and denied in part as follows.
  1.    Factual Background
          Valdez is a female counselor who was employed by the County from July
  2016 through July 21, 2017. (ECF No. 4 at ¶¶ 3, 10.) The County operates four
  jails, all of which house male inmates. (Id. at ¶¶ 8, 9.) Valdez worked as a
  counselor at two of these facilities, the Pre-Trial Detention Center and the Turner
  Guilford Knight Correctional Center. (Id. at ¶¶ 8, 11.)
          Throughout her employment with the County, Valdez was subjected to
  “daily face-to-face personal contact with male inmates.” (Id. at ¶ 13.) These
  inmates would sexually harass Valdez by “exposing their genitals and
  masturbating at [her], commonly referred to as ‘gunning,’” as well as by making
  “sexually vulgar comments and gestures.” (Id. at ¶¶ 14, 15.) “Despite a safer
  alternative path, [Valdez] was required to walk around the narrow perimeter of
  the cells in close proximity to the male inmates, which exacerbated the issues.”
  (Id. at ¶ 19.) The County also failed to “timely provide [Valdez] with a radio,
  walkie-talkie, or panic button, which would have helped keep [Valdez] safe” and
  “calm [her] fears and safety concerns while walking near the male inmate cells.”
  (Id. at ¶ 21.)
          The County “has written policies in place to combat the harassing behavior
  by the male inmates.” (Id. at ¶ 24.) But “reporting masturbations and sexual
  harassment” under those policies “was strongly discouraged by [Valdez’s]
  superiors.” (Id. at ¶ 26.) Moreover, female staff, including Valdez, were not
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  trained “in how to address gunning” by inmates. (Id. at ¶ 27.) “‘Gunning’
  significantly interfered with [Valdez’s] job performance by distracting,
  embarrassing, frightening, and humiliating [her], while she was attempting to
  perform the duties and responsibilities of her position.” (Id. at ¶ 29.)
         On those allegations, Valdez filed this lawsuit against the County, and now
  asserts five claims under: (1) Title VII of the Civil Rights Act for sexual
  harassment, (id. at ¶¶ 36-44); (2) Florida’s Civil Rights Act of 1992 for sexual
  harassment, (id. at ¶¶ 45-53); (3) 42 U.S.C. § 1983 based on a Monell theory for
  violations of Valdez’s “right to be free from sexual discrimination and harassment
  under the Equal Protection Clause of the Fourteenth Amendment of the United
  States Constitution,” (“Count III,” id. at ¶¶ 54-57); (4) Title VII of the Civil Rights
  Act for retaliation, (id. at ¶¶ 58-67); and (5) Florida’s Whistleblower Act applicable
  to the private sector, § 448.102, Fla. Stat., (“Count V,” id. at ¶¶ 68-71).
         The County moves to dismiss Counts III and V. (ECF No. 4.) Specifically,
  the County argues that Valdez fails to state a Monell claim under section 1983
  because she “has not alleged sufficient factual allegations to demonstrate a
  Miami-Dade County policy or custom.” (ECF No. 7 at p. 2.) As to Count V, the
  County argues that that claim is time-barred and, in any event, applicable only
  to private entities, which the County is not. (Id. at pp. 2-3; ECF No. 9 at n.1.)
  Valdez filed a response brief (ECF No. 8) to which the County replied (ECF No.
  9).
  2.    Legal Standard
          A court considering a motion to dismiss, filed under Federal Rule of Civil
  Procedure 12(b)(6), must accept all the complaint’s allegations as true,
  construing them in the light most favorable to the plaintiff. Pielage v. McConnell,
  516 F.3d 1282, 1284 (11th Cir. 2008). Although a pleading need only contain a
  short and plain statement of the claim showing that the pleader is entitled to
  relief, a plaintiff must nevertheless articulate “enough facts to state a claim to
  relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
  (2007). “But where the well-pleaded facts do not permit the court to infer more
  than the mere possibility of misconduct, the complaint has alleged—but it has
  not shown—that the pleader is entitled to relief.” Ashcroft v. Iqbal, 556 U.S. 662,
  679 (2009) (quoting Fed. R. Civ. P. 8(a)(2)) (internal punctuation omitted). A court
  must dismiss a plaintiff’s claims if she fails to nudge her “claims across the line
  from conceivable to plausible.” Twombly, 550 U.S. at 570.
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  3.    Analysis
         The County moves to dismiss Count III under section 1983 and Count V
  under Florida’s Whistleblower Act. The Court will address each argument in
  turn.
         According to the County, Count III should be dismissed because “Valdez
  has not alleged sufficient factual allegations to demonstrate a Miami-Dade
  County policy or custom,” as is required to state a claim under section 1983 on
  Monell theory of liability. (ECF No. 7 at p. 2.) The County appears to imply that
  Valdez has not alleged a “persistent and widespread practice” that would satisfy
  this standard. (Id.) In response, Valdez argues that the Motion is “devoid of any
  specificity to support the Defendant’s position,” (ECF No. 8), and nonetheless
  cites paragraph 55 of the Amended Complaint which alleges various ways that
  the County’s “pattern of conduct in response to the gunning of” Valdez and other
  female staff “constitutes a custom of the [County] within the meaning of 42
  U.S.C. § 1983.” (ECF No. 4 at ¶ 55.) The Court agrees with Valdez that the County
  did not sufficiently develop this argument in its Motion and that Count III states
  a claim for relief. The County may renew this argument at summary judgment.
          As for Count V, the County seeks dismissal of that claim arguing that
  Valdez improperly seeks relief against the County under Florida’s Whistleblower
  Act applicable to private entities, Fla. Stat. § 448.102. (ECF No. 9 at n.1.) The
  Court agrees. Section 448.102 is only applicable to private sector employers.
  Arrow Air, Inc. v. Walsh, 645 So. 2d 422, 423 (Fla. 1994) (“The private sector
  Whistle-Blower’s Act . . . prohibits private sector employers from taking
  retaliatory personnel action against employees who ‘blow the whistle’ on
  employers who violate the law or against employees who refuse to participate in
  violations of the law and provides employees a civil cause of action for such
  retaliation.” (citing §§ 448.101-.105, Fla. Stat. (1993))). The County is a public
  entity not subject to section 448.102. Count V therefore fails to state a claim and
  is dismissed with prejudice. To the extent Valdez believes she has a colorable—
  and timely—claim for relief under the whistle blower act applicable to the public
  sector, see § 112.3187, Fla. Stat., she must promptly seek leave to file a second
  amended complaint.
  4.    Conclusion
        In sum, the Motion (ECF No. 7) is granted in part and denied in part.
  Count V is dismissed with prejudice. The County shall answer the amended
  complaint within the time permitted under the Federal Rules of Civil Procedure.
  Within 10 days of the date of this order, the parties shall also submit their joint
  scheduling report, as the Court previously ordered. (See ECF No. 5.)
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        Done and ordered, in Chambers, at Miami, Florida on July 31, 2019.




                                          Robert N. Scola, Jr.
                                          United States District Judge
